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FILED

UNITED STATES BANKRUPTCY COURT MIDDLE — oy - 4 2015

DISTRICT OF FLORIDA ORLANDO DIVISION

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In re: Case No. 6:15-bk-06189-CCJ
ERMINIO VAN MALLEGHEM, .
Chapter: 7
Debtor
ERMINIO VAN MALLEGHEM,
Plainti
aintiff Adv. Proc. No.:

VS.

OCWEN LOAN SERVICING, LLC,

 

Defendant Verified Adversary Complaint

 

VERIFIED ADVERSARY COMPLAINT

 

COMES NOW, Plaintiff, ERMINIO VAN MALLEGHEM, (hereinafter:
“Plaintiff? or “VAN MALLEGHEM”), and sues Defendant OCWEN LOAN

SERVICING, LLC; (HEREINAFTER “OCWEN”’) allege the following:

I. JURISDICTION AND VENUE:

1. This adversary proceeding is brought pursuant to 11 U.S.C. §506 and
Federal Rule of Bankruptcy Procedure 7001.
2. This court has jurisdiction over this adversary proceeding pursuant to

28 U.S.C. §§151, 157 and 1334(b). Venue is proper pursuant to 28 U.S.C. §1409.

 

 

 
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3. This adversary proceeding is a core proceeding as defined at 28
U.S.C. §157(b)(2)(b) and (b)(2)(K) in that it is an action to determine the nature,
extent and validity of an interest in property evidenced by a purported note and
mortgage, and the allowance or disallowance of a claim, and jurisdiction exists
pursuant to 11 U.S.C. § 502 (a) and (b) (1), 11 U.S.C. § 544 (a) (3) and (b) (1), 28
U.S.C. 1334, 28 U.S.C. 2201 for declaratory relief and 28 U.S.C. 1367 for pendent
state claims.

4, This Court has subject matter jurisdiction to hear this controversy.
The Controversy involves a federal question.

5. This Court has original jurisdiction over the claims in this action
based on 28 U.S.C. §§ 1331, 1343, 2201, 2202, 12 U:S.C. § 2605, 15 U.S.C. §
1692,42 U.S.C. §5 1983 which confer original jurisdiction on federal district courts
in suits to address the deprivation of rights secured by federal law.

6. This Court also has supplemental jurisdiction over the pendant state
law claims because they form a part of the same case or controversy under Article

Ill of the United States Constitution, pursuant to 28 U.S.C. § 1367.

II. PERSONAM JURISDICTION OVER THE PARTIES

7. At all relevant times, OCWEN is organized under the laws of

FLORIDA and conducts business in this district.

 

 
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8. VAN MALLEGHEM, is an Individual and is the Plaintiff in this
lawsuit.
9. VAN MALLEGHEM, is an individual having standing to bring this

action pursuant to 11 U.S.C. 323.1302 and 1330.

GENERAL ALLEGATIONS

10. Whenever reference is made in this Complaint to any act of any
Defendant(s), that allegation shall mean that each Defendant acted individually and
jointly with the other Defendants.

11. Any allegation about acts of any corporate or other business
Defendant means that the corporation or other business did the acts alleged through
its officers, directors, employees, agents and/or representatives while they were
acting within the actual or ostensible scope of their authority.

12. At all relevant times, each Defendant committed the acts, caused or
directed others to commit the acts, or permitted others to commit the acts alleged in
this Complaint. Additionally, some or all of the Defendants acted as the agent of
the other Defendants, and all of the Defendants acted within the scope of their
agency if acting as an agent of the other.

13. At all relevant times, each Defendant knew or realized that the other
Defendants were engaging in or planned to engage in the violations of law alleged

in this Complaint. Knowing or realizing that the other Defendants were engaging

 

 
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in or planning to engage in unlawful conduct, each Defendant nevertheless
facilitated the commission of those unlawful acts. Each Defendant intended to and
did encourage, facilitate, or assist in the commission of the unlawful acts, and
thereby aided and abetted the other Defendants in the unlawful conduct.

14. On or about August 1°, 2006, Plaintiff, VAN MALLEGHEM,
acquired an interest in the real property particularly described in Exhibit “A” :
WHICH IS THE DEED.

15. As to his obligation to a buy-sell transaction between plaintiff and
seller, VAN MALLEGHEM paid the seller in full for the property.

16. In exchange for full payment for the property by VAN
MALLEGHEM, seller issued a deed to VAN MALLEGHEM. The deed from
seller is recorded in record Book 08883 and Page 1686 of ORANGE county.

17. On November 22, 2006, VAN MALLEGHEM attempted to enter into
a loan transaction with MORTGAGEIT INC. (“hereinafter “MORTGAGEIT”).

18. MORTGAGEIT, failed to consummate the contemplated loan
transaction.

19. MORTGAGEIT caused the title to VAN MALLEGHEM’s property
to be clouded when it caused to be recorded documents purporting to use the
Property as collateral to secure a purported debt, describing an unconsummated

transaction.

 
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20. Plaintiff, having unwittingly released certain documents to
MORTGAGEIT without receiving any funds from MORTGAGEIT, VAN
MALLEGHEM looked for a way to retrieve or cancel the purported transaction
appearing on documents without resorting to court.

21. The Truth In Lending Act provides a remedy to rescind a transaction
within three days of consummation for any reason.

22. OCWEN does not have any record of ever posting a note receivable
entry on its balance sheet that involves the purported note. The lack of existence of
such records supports the allegation that OCWEN never held any interest in the
Property.

23. OCWEN has no record of posting any income entry on its income
statement reflecting any principle or interest payments from VAN MALLEGHEM.
The lack of existence of such records supports the allegation that OCWEN never
held any interest in the Property.

24. OCWEN has no record of paying any income tax on any payments
from VAN MALLEGHEM. The lack of existence of such records supports the
allegation that OCWEN never held any interest in the Property.

25. On or about 04/14/2015, VAN MALLEGHEM sent his Notice of

Rescission. To OCWEN. (See Attached)

 

 

 

 
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26. OCWEN, failed to respond to VAN MALLEGHEM’s Notice of
Rescission.

27. OCWEN knew, or should have known, that they were collecting on a
transaction that was not consummated, and subsequently rescinded.

28. Defendants knew, or should have known, that they were attempting to
collect a debt that cannot be legally collected.

29, Defendant OCWEN is fraudulently enforcing a non-existing debt
obligation in which they can have no pecuniary, equitable or legal interest. Thus,
OCWEN’s conduct is part of a fraudulent debt collection scheme.

30. The conduct of OCWEN as described above, is malicious because
OCWEN knew that it was acting without the prerequisite authority from a valid
and relevant debt, and that there was no amount due and owing to OCWEN.
However, despite such knowledge, OCWEN continued to demand payments from
Plaintiff. (See Attached Demand Letters and Dispute)

31. Asa direct and proximate result of the actions of OCWEN as set forth
above, Plaintiff's credit and credit score have been severely damaged. Specifically,
because of the derogatory credit reporting and the lack of compliance with the
notice of rescission, Plaintiff is unable to refinance his equity, buy another

property, or sell his home.

 

 

 

 
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32. As a direct and proximate result of the actions of OCWEN as set
forth above, the title to Plaintiff's home has been slandered, clouded, and its
salability has been rendered unmarketable.

33. Defendant OCWEN claims to be the holder of the note and mortgage
with the right to enforce the note and mortgage for an undisclosed principle.

34. Either OCWEN, as alleged by Plaintiff, is not a creditor of the
Plaintiff, and therefore has no loan receivable from the Plaintiff, or in the
alternative, OC WEN is required to comply with collection practices as defined by
state and federal statutes.

35. OCWEN does not possess a loan receivable from the Plaintiff nor has
OCWEN complied with Federal and State statutes consistent with being a creditor
or debt collector.

36. OCWEN does not possess, or ever possessed, any legal right,
justification, or excuse for asserting a secured interest in the Plaintiff's Property on
its own behalf or on behalf undisclosed principals.

37. Notwithstanding the above, OCWEN continue to act as though
OCWEN is secured creditor, and has threatened to extract funds from Plaintiff
using duress and intimidation.

38. Plaintiff has a right to, as a seller, or in refinancing the property, to

warranty title, and to know, with the certainty required in all real estate

 

 

 
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transactions, whether the party providing estoppel information for payoff, and who
receives the proceeds of a subsequent closing, and who issues a satisfaction of
mortgage, is the correct party to do so. If that right is not recognized, then Plaintiff
is forced to either not sell or not refinance because of a clouded title that was not
clouded through his own doing.

39. As a direct and proximate result of the above, together with other
actions taken by OCWEN to collect on an obligation that has been rescinded, the
Plaintiff's property are under a cloud of title claims and potential claims, all
created by OCWEN, and Plaintiff has suffered damages to his credit and reputation
generally.

40. Plaintiff is unable to clear up the titles, since OCWEN continues to
assert claims of creditor status, and a claim of secured interest based on void
document that Plaintiff was fraudulently induced to execute, and subsequently
rescinded, satisfied or settled.

41. As of proximate result of the OCWEN'S unlawful actions, Plaintiff
continues to suffer the irreparable harm described above for which only monetary
compensation is inadequate.

42. OCWEN is using the rescinded transactions documents to take and
retain undisclosed fees, profits and compensation as defined under the Federal

Truth in Lending Act from the money advanced by the investor-lenders, including

 

 
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a tier 2 yield spread premium in which more money was advanced by investor-
lenders than was used to fund or acquire mortgages, all of which are due to
Plaintiff far in excess of $75,000.00, plus treble damages, attorney's fees, and costs
of this action.

43. The actual bona fide controversy is that Plaintiff have suffered credit
damage from a party who has no rights to enforce documents describing a
rescinded loan transaction, are threatened with foreclosure and eviction, and cannot
promise clear title in any sale or refinance due to the issues described above.

44. Asa direct and proximate result of the above, Plaintiff is being forced
to pay money that is not due OC WEN.

45. OCWEN or its undisclosed principle, did not return to Plaintiff all
monies paid including interests, appraisal fees and the other costs pursuant to the
Truth In Lending Act and Regulation Z.

46. OCWEN failed to return the Note to Plaintiff pursuant to the Truth In
Lending Act and Regulation Z.

47. OCWEN did not initiate a court action within 20 days of the notice of
rescission, to declare whether any monies should be paid by Plaintiff to OCWEN.

48. Plaintiff is entitled to receive the Note and monies paid on the

rescinded transaction pursuant to the Truth In Lending Act and Regulation Z.

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49. In spite of receiving the TILA rescission notice, Defendants,
contacted Plaintiff via U.S. mail in an effort to collect a debt, contrary to the form
of 15 U.S.C. Section § 1692 , for which reason Plaintiff is entitled to statutory
damages.

50. OCWEN is a “debt collector” within the meaning of 15 U.S.C.
Section § 1692a(6) and 15 U.S.C. § 1601 et. seq. (the Fair Debt Collector Practices
Act, or FDCPA), in that it uses the mail in a business, the primary purpose of
which, is the collection if debts.

51. OCWEN is a “debt collector” within the meaning of the FDCPA in
that it uses the mail in a business the primary purpose of which is the collection of
debts.

52. Any order/judgment obtained in reliance on rescinded documents is
subject to collateral attack on said judgment/order.

53. The rescinded transaction is the purported debt upon which illegal
collection activity took place.

54. Onor about July 17, 2015, a petition in U.S. Bankruptcy Court in the
Middle District of Florida (Orlando), was filed by the Plaintiff. The case number
for the bankruptcy action is Case 6:15-bk-06189.

55. On or about July 17, 2015, the Bankruptcy Court served upon

OCWEN, a Notice of Commencement of Case. (See Attached Notice) This

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document describes that an automatic stay from creditor action is in place

prohibiting certain collection action, as follows:

Prohibited collection actions are listed in Bankruptcy Code
§362. Common examples of prohibited actions include
contacting the debtor by telephone, mail or otherwise to
demand repayment; taking actions to collect money or obtain
property from the debtor; repossessing the debtor's property;
starting or continuing lawsuits or foreclosures; and garnishing
or deducting from the debtor's wages. Under certain
circumstances, the stay may be limited to 30 days or not exist at
all, although the debtor can request the court to extend or
impose a stay.

56. Federal Bankruptcy law at 11 U.S.C. § 362 provides for an automatic

stay from creditor action upon the filing of a petition in bankruptcy, to wit:

(a) Except as provided in subsection (b) of this section, a
petition filed under section 301, 302, or 303 of this title, or an
application filed under section 5(a)(3) of the Securities Investor
Protection Act of 1970, operates as a stay, applicable to all
entities, of —

(1) the commencement or continuation, including the
issuance or employment of process, of a judicial,
administrative, or other action or proceeding against the
debtor that was or could have been commenced before the
commencement of the case under this title, or to recover a
claim against the debtor that arose before the
commencement of the case under this title; .. .

(6) any act to collect, assess, or recover a claim against the
debtor that arose before the commencement of the case
under this title; ...

(k)(1) Except as provided in paragraph (2), an individual

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injured by any willful violation of a stay provided by this
section shall recover actual damages, including costs and
attorneys' fees, and, in appropriate circumstances, may recover
punitive damages.

57. The Bankruptcy Code § 362(k) is intended to hold creditors
accountable for injuries caused by willful violations of the automatic stay. In re
Wingard, 382 B.R. 892, 900 (Bankr. W.D. Penn. 2008).

58. The Fair Debt Collection Practices Act "FDCPA", states in 15 U.S.C.

§1692(e):

"A debt collector may not use any false, deceptive, or
misleading representation or means in connection with the
collection of any debt. Without limiting the general application
of the foregoing, the following conduct is a violation of this
section:" including (2) The false representation of

a. the character, amount, or legal status of any debt; or

b. any services rendered or compensation which may be
lawfully received by any debt collector for the
collection of a debt.

59. Additionally, a debt collector may not represent or imply "that
nonpayment of any debt will result in the arrest or imprisonment of any person or
the seizure, garnishment, attachment, or sale of any property or wages of any
person unless such action is lawful and the debt collector or creditor intends to take
such action." 15 USC §1692(e)(4)(emphasis added). Thus, it is not the filing of a
foreclosure action that could arguably be a violation of this statute, but the threat to

do so and the lawfulness of such actions, which OCWEN has engaged in.

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60. Other restrictions on debt collection include: "(8) Communicating or
threatening to communicate to any person credit information which is known or
which should be known to be false, including the failure to communicate that a
disputed debt is disputed." 15 USC §1692(e)(emphasis added).

61. Plaintiff, as a proximate result of OCWEN’S acts and conduct
described above, has sustained economic damage in excess of $75,000.00 for
which the Plaintiff is entitled to compensation from OCWEN including but not
limited to excess interest, principal and fees and costs associated with exposing this
scheme and clearing his title.

WHEREFORE, Plaintiff requests this Court award this Plaintiff actual,
statutory, consequential, compensatory, punitive and special damages, from
OCWEN, and its undisclosed principals once identified, individually jointly and
severally whichever is greater, attorney fees and costs, and for all other relief to

which this Court find Plaintiff entitled.
Respectfully submitted,

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Erminio Van Malleghem, Pro Se

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VERIFICATION OF CLAIM

Affidavit of ERMINIO VAN MALLEGHEM

I, Erminio Van Malleghem, am the Plaintiff in this action.

This affidavit is based upon my personal knowledge, and if called upon as a
witness in this matter I could competently testify to the facts as set forth below.

I have read the foregoing statement of claim and examined the appendices
referenced therein. The facts stated in the state of claim are true. The appendices
are true and fair copies of the recited instruments.

The statements in this Complaint are true and correct are true and correct to the

best of my knowledge and belief.

FLZG

ERMINIO VAN MALLEGHEM

STATE OF FLORIDA )
)

COUNTY OF Cheterse)
SWORN AND SUBSCRIBED before me onl i by Csoeies Leen Malhsfem

who produced FE < {)2 _asidentification or who are well known to me.
DENISE QUICK

“ Pt, NOTARY PUBLIC
B ESTATE OF FLORIDA . .

Sait
Print, Type or Stamp NOTARY PUBLIC, State of H@x% Lt
Name of Notary

My Commission Expires: 6 Y- 34 lg 1b |

 

 

    
   

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CERTIFICATE OF SERVICE

 

We The undersigned herby certifies that a true and correct copy of the
foregoing has been furnished by U.S. Mail to: the parties on the service list on this

date November 4, 2015.

Respectfully submitted,

Bek ee

Erminio Van Malleghem, Pro Se

SERVICE LIST:

Ocwen Loan Servicing, LLC
1661 Worthington Road, Suite 100
West Palm Beach, FL 33409

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Exhibit A — UAMLEOUA ACEI UR

This Instrument Prepared by & return to: INSTR 20060638235

Name: W. Crit Smith, Esq. OR BK @8883 PG 1685 PGS=1
Susan S. Thompson, Esq. NARTHA 0. HAYNIE, COMPTROLLER
Frank S. Shaw, Hf, Esq. ORANGE COUNTY, FL
Daniel E. Manausa, Esq. 09/26/2806 12111207 PM
Smith, Thompson, Shaw & Manausa, P.A, DEED DOC TAX 3,872. 3a

Address: 2075 Centre Pointe Boulevard REC FEE 10.68
Tallahassee, Fl. 32308 LAST PAGE

Parcel LD. #: 33-24-29-3106-01080

 

 

SPACE ABOVE THIS LINE FOR PROCESSING DATA SPACE ABOVE THIS LINE FOR RECORDING DATA ———

THIS QUIT-CLAIM DEED executedthis ey day of August, A.D, 2006, by JAMES PERRY AND

JUDY PERRY, HUSBAND AND WIFE, first party, to ERMINIO VAN MALLEGHEMAND DAWN VAN MALLEGHEM,
whose post office address is 14203 HOGAN DRIVE, ORLANDO, FL 32837, second party:

(Wherever used herein, the teres “first party" and “second party" shall include singular and plural,
heirs, legal representatives, and assigns of individuals, and the succesrors and assigis of corporations,
wherever {he context so admits or requires.)

Witnesseth, That the said first party, for and in consideration of the sum of $10.00, in hand paid by the said
second party, the receipt whereof is hereby acknowledged, does hereby remise, release, and quit-claim unto the said
second party forever, all the right, title, interest, claim and demand which the satd first party has in and to the following
described lot, piece or parcel of land, situate, lying and being in the County of ORANGE, State of Florida, towit:

LOT 168, HUNTERS CREEK TRACT 130, PHASE If, ACCORDING TO THE PLAT THEREOF, AS RECORDED IN
PLAT BOOK 21, PAGES 18 AND 19, OF THE PUBLIC RECORDS OF ORANGE COUNTY, FLORIDA,

At the request of Grantor and Grantee,a title search was not done on the above-referenced property.

To Have and to Hold the same, together with all and singular the appurtenances thereunto belonging or in anywise

appertaining, and all the estate, right, title, interest, lien, equity and claim whatsoever of the said first party, either in law or equity, tothe
only proper use, benefit and behoof of the said second party forever.

In PAtness Whereof, the said first party has signed and sealed these presents the day and pear first above written.

Signed, sealed and delivered in the presence of:

Mhelle b. Bemett -

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inted Nate

State of Florida
County of

I hereby Certify that on this day, before me, an officer duly authorized to administer oaths and take acknowledgements, personally
appeared JAMES PERRY AND JUDY PERRY, HUSBAND AND WIFE, known to me to be the person described in and who executed the
Joregoing instrument, who acknowledged before me that he/she executed the same, and that Irelted upn the following form of identification of
the above-named person:A DRIVER'S LICENSE and that an oath was not taken.
Witness my hand and official seal in the County and State last aforesaid this day of August, A.D, 2006.
hice Vewns Wintins M ignature ~

rinted Notary Signatur

 

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Exhibit: Rescission Letters

Erminio Van Malleghem and Dawn Van Malleghem
14203 Hogan Drive
Orlando, Florida 32837

April 14, 2015
Ocwen Loan Servicing, LLC
1661 Worthington Road, Suite 100,
West Palm Beach, Florida 33409
RE: Account No: 7191045975 Property: 14203 Hogan Drive,

Orlando, Florida 32837

VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED 72/43 4 96 Ove e L572 (P22.

 

Dear Ocwen Loan Servicing, LLC,

This letter shall serve as our renewed Notice of Rescission of the alleged transaction described in
a Note and Mortgage dated 11/26/2006. We previously sent notice December 7, 2012 a copy is
included.

Pursuant to TILA and Regulation Z, you have twenty (20) days after receipt of this Notice of
Rescission to return all monies paid and to take action necessary and appropriate to terminate the
security interest. Please be advised that the mortgage is automatically voided by operation of law
upon rescission under 15 U.S.C. § 1635(b). Therefore, any attempt to report this mortgage to a
credit agency is a willful violation of TILA and the Fair Credit Reporting Act, 15 U.S.C. §1681a,
et seq.

Please contact us at (407) 376-9528 to arrange the delivery to us of all monies paid under the
mortgage, including all closing costs, principal, and interest.

Additionally, please mail us confirmation that the mortgage has been voided and that no negative
information will be reported to the credit bureaus with respect to this account. We reserve the
right to continue to make payments on this account for the sole purpose of protecting our credit
rating from any negative reporting of information by you or your agents,

Sincerely,

 

ERMINIO VAN MALLEGHEM DAWN VAN MALLEGHEM

 

 

 
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Exhibit: Rescission Letters

10/16/2008
Owner: Erminio and Dawn Van Malleghem

Property: 14203 Hogan Drive, Orlando, Florida, 32837

Lender: MortgagelT, Inc.
33 Maiden Lan, 6th Floor
New York, NY 10038

Account No: 40664459
Att: MortgageIT Inc

Pursuant to TILA, 15 U.S.C. Section 1635 and Regulation Z, we hereby exercise our right to
rescind the mortgage transaction that is identified above.

The primary basis of the rescission is that:

« We was not provided with a completed copy of the notice of my right to rescind the
consumer credit transaction, in violation of TILA.

* Failure to consummate the transaction by the named Payee on the mortgage.

« Lack of full disclosure of all charges and fees and the existence of non-disclosed parties.

You have twenty (20) days after receipt of this Notice of Rescission to return all monies paid
and to take action necessary and appropriate to terminate the security interest, according to
TILA. Please be advised that the mortgage is automatically voided by operation of law upon
rescission under 15 U.S.C. § 1635(b), Therefore, any attempt to report this mortgage to a
credit agency is a willful violation of TILA and the Fair Credit Reporting Act, 15 U.S.C. §1681a.

Please contact me at (407) 826-9844 to arrange the delivery to me of all monies paid under
the mortgage, including all costs, principal, and interest.

Also, please mail me confirmation the mortgage has been voided and no negative information
will be reported to the credit bureaus with respect to this loan.

Sincerely,

Cc

Erminio Van Malleghem

Live Mo. MeMlaghor

Dawn Van Malleghem

  
      

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Exhibit: Demand Letters and Dispute

ERMINIO VAN MALLEGHEM & DAWN VAN MALLEGHEM
14203 HOGAN DRIVE
ORLANDO, FLORIDA 32837

Ocwen Loan Servicing, LLC. | LY J2/2 oley

P.O. Box 24736 . . . ie 2 ve
West Palm Beach, Florida 33146-4736 UEP Folf (RL Orc] GIDE 545

Dear Ocean Loan Servicing:

We writing in response to your letter dated 11/20/2014 (copy enclosed) but received on
November 29, 2014, because we do not believe we owe what you say we owe.

This is the first we have heard from you, in accordance with the Fair Debt Collection Practices
Act, Section 809(b): Validating Debts:

(b) If the consumer notifies the debt collector in writing within the thirty-day period
described in subsection (a) that the debt, or any portion thereof, is disputed, or that the
consumer requests the name and address of the original creditor, the debt collector shall
cease collection of the debt, or any disputed por thereof, until the debt collector
obtains verification of the debt or any copy of'agud Ht, or the name and address of the
original creditor, and a copy of such verifigation.or judgment, or name and address of the
original creditor, is mailed to the consumer ‘by, the debt collector.

  
  
  

 

We respectfully request that you provide adiwith the following information:

 

(1) the amount of the debt; = 4° a
(2) the name of the creditor to whom the debt is owed;

(3) Provide a verification or copy” ‘of any: judgment (if applicable);

(4) Proof that you are licensed to colléct debts in (insert name of your state)

Be advised that we are fully aware of our rights under the Fair Debt Collection Practices Act and
the Fair Credit Reporting Act. For instance, we know that:

e because we have disputed this debt in writing within 30 days of receipt of your dunning
notice, you must obtain verification of the debt or a copy of the judgment against us and
mail these items to us at your expense;

* you cannot add interest or fees except those allowed by the original contract or state law.

* you do not have to respond to this dispute but if you do, any attempt to collect this debt
without validating it, violates the FDCPA;

Also be advised that we are keeping very accurate records of all correspondence from you and
your company including recording all phone calls and they will not hesitate to report violations
of the law to my State Attorney General, the Federal Trade Commission and the Better Business

Bureau.

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Exhibit: Demand Letters and Dispute

We have disputed this debt; therefore, until validated you know your information concerning this
debt is inaccurate. Thus, if you have already reported this debt to any credit-reporting agency
(CRA) or Credit Bureau (CB) then, you must immediately inform them of their dispute with this
debt. Reporting information that you know to be inaccurate or failing to report information
correctly violates the Fair Credit Reporting Act § 1681s-2. Should you pursue a judgment
without validating this debt, we will inform the judge and request the case be dismissed based on
your failure to comply with the FDCPA.

We have paid their property taxes and our insurance and have not requested nor authorized the
establishment of an escrow account.

Finally, if you do not own this debt we demand that you immediately send a copy of this dispute
letter to the original creditor so they are also aware of my dispute with this debt.

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Erminio Van Malleghem

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Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 21 of 28

Exhibit: Demand Letters and Dispute

Oecwen Loan Servicing, LLC 1661 Worthington Road. Ste 100

; West Pabn Beach. FL 33409
Www OCWEN.COM Toll Free: (800) 746-2936

beet ! Helping Homeowners is What We Dof™

11/20/2014 Loan Number: 7191045975

Dawn Van Malleghem Erminio Van Malleghem
14203 Hogan Dr
Orlando, FL 32837

Property Address: 14203 Hogan Dr
Orlando, FL 32837

Re: Delinquency Information

Dear Dawn Van Malleghem 2
Enninio Van Malleghem e
We are providing the information in this notice because, as of the date oF this letter, the above account is delinquent.

**DELINQUENGY NOTICE™:

You are late on your mortgage paymentsAs of 11/20/14, you areé:224] ‘days delinquent on your mortgage loan. Your account first
became delinquent on 10/02/08. Failure to bring your loan current 1 vyzesulti in fees and foreclosure — the loss of your homie.

 

 

   

 

 

Recent Account History

* Payment due 11/01/14: UNPAID AMOUNT £$2949. 87
> Payment due 10/01/14: UNPAID AMOUNT,OF $2949.87
+ Payment due 09/01/14: UNPAID AMOUNT OF $2949.87
* Payment due 08/01/14: UNPAID AMOUNT.OF $2949.87
* Payment due 07/01/14: UNPAID AMOUNF OF $2949.87
* Payment due 06/01/14: UNPAID AMOUNT OF $2949.87

 

* Total: $231038.15. You must pay this amount to bring your loau current. Please note that the Total Amount Dug
includes your next reguiar monthly payment.
This amount may.not inclide all fees and charges, as all fees and charges may uot have been billed or posted to your
account as of the letter date. Please contact us for your current reinstatement amount or payoff amount.

Your account has been referred to an attorney to foreclosure. The first step in this process, the first legal filing, has not yet been
completed.

If You Are Experiencing Financial Difficulty: Ifyou are experiencing financial difficulties and would like counseling or
assistance, you can contact the U.S. Department of Housing and Urban Development (HUD). For a list of homeownership
counselors or counseling organizations in your area, go to wuw.bud eov/offices/hse/sfl/bcc/hes.cfm or call 800-569-4287.

 

 

 

 

NMLS # 1852 MADNREM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to you
for informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an attempt to
collect a debr from you personally.

Page 1 of 2

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Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 22 of 28

  

> ait Demand Letters and Dispute
; 1661 Worthington Road. Ste 100
Ocwen Loan Servicing. LLC West Palm Beach, FL 33409
WWW.OCWEN.COM Toll Free; ($00) 746-2936

seesanteerneee Helping Homeowners is What We Dol™
OGWEN

Should you have any questions or coucerns, or believe an error has occurred, please contact us immediately 800-746-2936. We are
available to assist you Monday through Friday 8:00 am to 9:00 pm ET, Saturday 8:00 am io 5:00 pm ET, and Sunday 9:00 am to
9:00 pm ET.

If you would like to subinit a qualified written request, a notice of error, or a request for information, you must use the following
address:

Research Department, P.O. Box 24736, West Palm Beach, Florida 33416-4736.

If you have any further questions regarding this letter, your account or options that we may have available, you may schedule an
appointment with your Home Retention Specialist, Jacqueline Dsouza, by contacting us at (800) 746-2936, Jacqueline Dsouza is
your designated contact for inquiries and the submission of documents as needed.

Sincerely,
Ocwen Loan Servicing, LLC

Please Note: This is an attempt to collect a debt and any information obtained will be used for that purpose. However, if
you have an active bankruptcy case or have received an Order of Discharge from a Bankruptcy Court, the following

Notice Regarding Bankruptcy applies.

Notice Regarding Bankruptcy: Please be advised that if you are part of an active Bankzuptcy case or if you have received
an Order of Discharge from a Bankruptcy Court, this letter is in,no-way an attempt to collect either a pre-petition, post
petition or discharged debt. If your bankruptcy case is still. active, n‘action will be taken in willful violation of the
Automatic Stay, If you have received an Order of Dischatge i ina Chapter: 7 case, any action taken by us is for the sole
purpose of protecting our lien interest in the underlying’ mortgaged property and is not an attempt to recover any amounts
from you personally. Finally, if you are in an active Chapter: 41, 12 or 13 bankruptcy case and an Order for Relief from the
Automatic Stay bas not been issued, you should ¢ continue: to niake payments in accordance with your plan.

  

  

 

 

 

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However, if the debt is in active bankruptcy ar has been discharged through bankruptey, this communication is purely provided to yout
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Page 2 of 2

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Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 23 of 28
Exhibit: Demand Letters and Dispute

 

 

 

 

 

mod 166] Worthington Road, Ste 100
C) Ocwen Loan Servicing, LLC West Palin Beach, FL 3409
: - Toll Free: (800) 746-2936
Helping Homeowners is What We Dal™ en)
OCWEN
05/21/2015 Loan Number: 7191045975

Dawn Van Malleghem Erminio Van Malleghem
14203 Hogan Dr
Orlando, FL 32837

Property Address: 14203 Hogan Dr
Orlando, FL 32837

Re: Delinquency Information

Dear Dawn Van Malleghem
Erminio Van Malleghem

We are providing the information in this notice because, as of the date of this letter, the above account is delinquent.
“DELINQUENCY NOTICE™

You are late on your mortgage payments.As of 05/20/15, you are 2422 days delinquent on your mortgage loan. Your account first
became delinquent on 10/02/08. Failure to bring your loan current may result in fees and foreclosure — the loss of your home.

 

 

Recent Account History

Payment due 05/01/15: UNPAID AMOUNT OF $2949.87
Payment due 04/01/15: UNPAID AMOUNT OF $2949.87
Payment due 03/01/15: UNPAID AMOUNT OF $2949.87
Payment due 02/01/15: UNPAID AMOUNT OF $2949.87
Payment due 01/01/15: UNPAID AMOUNT OF $2949.87
Payment due 12/01/14: UNPAID AMOUNT OF $2949.87

° Total: $250001.2. You must pay this amount to bring your loan current. Please note that the Total Amount Due

includes your next regular monthly payment.
This amount may not include all fees and charges, as all fees and charges may not have been billed or posted to your
account as of the letter date. Please contact us for your current reiiistatément amount or payoff amount.

Your account has been referred to an attorney to foreclose. The first step in this process, the first filing, was completed.

If You Are Experiencing Financial Difficulty: If you are experiencing financial difficulties and would like counseling or
assistance, you can contact the U.S. Department of Housing and Urban Development (HUD). For a list of homeownership
counselors or counseling organizations in your area, go to www.hud.gov/offices/hse/sfi/hee/hes.cfm or call 800-569-4287.

 

 

 

 

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This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to you
for informational purposes only with regard to our secured lien on the abave referenced property. It is not intended as an attempt to
collect a debt from you personally.

Page 1 of 2

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Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 24 of 28

Exhibit: Demand Letters and Dispute

 

 

 

 

wily 166] Worthington Road, Ste 100
C) Ocwen Loan Servicing, LLC West Palm Beach, FL 33409
: . Toll Free: (800) 746-2936

Helping Homeowners is What We Do/™ ree: (B00)

OGWEN
Should you have any questions or concerns, or believe an error has occurred, please contact us immediately 800-746-2936. We are
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9:00 pm ET.

If you would like to submit a qualified written request, a notice of error, or a request for information, you must use the following
address:

Research Department, P.O. Box 24736, West Palm Beach, Florida 33416-4736.

If you have any further questions regarding this letter, your account or options that we may have available, you may schedule an
appointment with your Home Retention Specialist, Jacqueline Dsouza, by contacting us at (800) 746-2936, Jacqueline Dsouza is
your designated contact for inquiries and the submission of documents as needed.

Sincerely,
Ocwen Loan Servicing, LLC

Please Note: This is an attempt to collect a debt and any information obtained will be used for that purpose. However, if
you have an active bankruptcy case or have received an Order of Discharge from a Bankruptcy Court, the following
Notice Regarding Bankruptcy applies.

Notice Regarding Bankruptcy: Please be advised that if you are part of an active Bankruptcy case or if you have received
an Order of Discharge from a Bankruptcy Court, this letter is in no way an attempt to collect either a pre-petition, post
petition or discharged debt. If your bankruptcy case is still active, no action will be taken in willful violation of the
Automatic Stay. If you have received an Order of Discharge in a Chapter 7 case, any action taken by us is for the sole
purpose of protecting our lien interest in the underlying mortgaged property and is not an attempt to recover any amounts
from you personally. Finally, if you are in an active Chapter 11, 12 or 13 bankruptcy case and an Order for Relief from the
Automatic Stay has not been issued, you should continue to make payments in accordance with your plan.

 

NMLS # 1852 MADNREM
This communication 1s from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, ifthe debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to you
for informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an attempt to
collect a debt from you personally.

Page 2 of 2

 

 
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Exhibity: BK Notikas© 6:15-bk-06189-CCJ Doc3 Filed 07/20/15 Page 1 of2

FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (03/14) Case Number 6:15—bk-06189-—CCJ

 

UNITED STATES BANKRUPTCY COURT
Middle District of Florida

 

Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines

A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on July 17, 2015 .
You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.

 

Creditors — Do not file this notice with any proof of claim you submit to the court.
See Reverse Side For Important Explanations

 

Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Erminio Van Malleghem

 

 

14203 Hogan Drive

Orlando, FL 32837

Case Number: Social Security/Taxpayer ID/Employer ID/Other Nos.:
6:15—bk-06189-CCJ XXX~-XxX—-9955

Attorney for Debtor(s) (name and address): Bankruptcy Trustee (name and address):

Erminio Van Malleghem Marie E. Henkel

14203 Hogan Drive 3560 South Magnolia Avenue

Orlando, FL 32837 Orlando, FL 32806

Telephone number: Telephone number: 407-438-6738

 

 

Meeting of Creditors
Debtor(s) must present Photo ID and acceptable proof of Social Security Number at § 341 meeting.
You are reminded that Local Rule 5073-1 restricts the entry of personal electronic devices into the Courthouse.
Date: August 25, 2015 Time: 09:00 AM
Location: George C. Young Courthouse, Suite 1202~A, 400 West Washington Street, Orlando, FL 32801

 

Presumption of Abuse under 11 U.S.C. § 707(b)

See "Presumption of Abuse” on reverse side.

Insufficient information has been filed to date to permit the clerk to make any determination concerning the presumption of abuse. If more
complete information, when filed, shows that the presumption has arisen, creditors will be notified.

 

Deadlines:

Papers must be received by the bankruptcy clerk's office by the following deadlines:

Deadline to File a Complaint Objecting to Discharge of the Debtor or to Challenge Dischargeability of Certain Debts:
October 26, 2015

 

Deadline to Object to Exemptions:

Thirty (30) days after the conclusion of the meeting of creditors.

 

Creditors May Not Take Certain Actions:

In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's
property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend
or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a
lawyer to determine your rights in this case.

 

Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.

 

Creditor with a Foreign Address

A creditor to whom this notice is sent at a foreign address should read the information under “Do Not File a Proof of Claim at This Time” on the
reverse side.

 

Address of the Bankruptcy Clerk's Office: For the Court:
George C. Young Federal Courthouse Clerk of the Bankruptcy Court:

400 West Washington Street Lee Ann Bennett

Suite 5100

Orlando, FL 32801
Telephone number: 407-237-8000

 

 

Hours Open: Monday — Friday 8:30 AM — 4:00 PM Date: July 20, 2015

 

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim trustee
pursuant to 11 USC § 701.

 

 

 

see neces:

 
Exhibity: BK Notice

Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 26 of 28
Case 6:15-bk-06189-CCJ Doc3 Filed 07/20/15 Page 2 of 2

 

 

EXPLANATIONS FORM BGA (12/12
Filing of Chapter 7 A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court by
Bankruptcy Case or against the debtor(s) listed on the front side, and an order for relief has been entered.
Legal Advice The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this

case.

 

Creditors Generally
May Not Take Certain
Actions

Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or obtain
property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures; and
garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although the debtor can request the court to extend or impose a stay.

 

Presumption of Abuse

If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of the
Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.

 

Meeting of Creditors

A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses in a
joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors are
welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date without
further notice.

 

Do Not File a Proof of
Claim at This Time

There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a proof of)
claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice telling you
that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this notice is mailed to a
creditor at a foreign address, the creditor may file a motion requesting the court to extend the deadline. Do not include
this notice with any filing you make with the court.

 

Discharge of Debts

The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may never try
to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under Bankruptcy
Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or (6), you must
start a lawsuit by filing a complaint — or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
—in the bankruptcy clerk's office by the "Deadline to File a Complaint Objecting to Discharge of the Debtor or to
Challenge Dischargeability of Certain Debts" listed on the front side. The bankruptcy clerk's office must receive the
complaint or motion and any required filing fee by that Deadline.

 

Exempt Property

The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed to
creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an objection
to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to Exemptions”
listed on the front side.

 

Bankruptcy Clerk's
Office

Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed on
the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of the
property claimed as exempt, at the bankruptcy clerk's office.

 

Address

Creditor with a Foreign Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this

case.

 

—— Refer to Other Side for Important Deadlines and Notices —-

 

 

Voice Case Info. System (McVCIS) discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day except when

McVCIS provides basic case information concerning deadlines such as case opening and closing date,

 

routine maintenance is performed. To access McVCIS toll free call 1-866-222-8029.

 
Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 27 of 28

B104 (FORM 104) (08/07)

 

 

“| ADVERSARY PROCEEDING NUMBER
(Court Use Only)

 

 

PLAINTIFFS

Erminio Van Malleghem

DEFENDANTS
OCWEN LOAN SERVICING , LLC

 

ATTORNEYS (Firm Name, Address, and Telephone No.)
Pro Se

ATTORNEYS (If Known)

 

PARTY (Check One Box Only)

& Debtor o U.S. Trustee/Bankruptcy Admin
a Creditor o Other
o Trustee

 

PARTY (Check One Box Only)

D Debtor O USS. Trustee/Bankruptcy Admin
0 Creditor ( Other
G Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Money damages, imporper collection, disgorgment, replevin (note)

 

  

 

   

 

FRBP 7001(1) — Recovery of Money/Property
O 11-Recovery of money/property - §542 tumover of property
O 12-Recovery of money/property - §547 preference
oO 13-Recovery of money/property - §548 fraudulent transfer
14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001 (3) - Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001 (4) — Objection/Revocation of Discharge
O 4|-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
C] 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
O 62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
T 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

O 61-Dischargeability - §523(a)(S), domestic support

oO 68-Dischargeability - §523(a)(6), willful and malicious injury

Cj 63-Dischargeability - §523(a)(8), student loan

O 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)

O 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
O 72-Injunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other

(J ss-sIpa Case — 15 U.S.C. §$78aaa ef.seq.

LJ 02-0ther (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

O Check if this case involves a substantive issue of state law

oO Check if this is asserted to be a class action under FRCP 23

 

g Check ifa jury trial is demanded in complaint

 

Demand $ over $75,000

 

Other Relief Sought

 

 

 

on Non RRC MS RISE

 

 

 
Case 6:15-ap-00147-RAC Doc1 Filed 11/04/15 Page 28 of 28

B104 (FORM 104) (08/07), Page 2

 

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
Erminio Van Malleghem 15-bk-06189
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Middle Orlando

Do a ES 8 RELATED ADVERSARY PROCEEDING (IF ANY)) 20 0 2 gece

PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
oh. 44.
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
11/03/2013 ERMINIO VAN MALLEGHEM

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

 

 

 
